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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


STATE OF TEXAS,
STATE OF IDAHO, et al,

       Plaintiffs,

                         v.                     Case No. 6:24-CV-00306

UNITED STATES DEPARTMENT OF HOMELAND
SECURITY, et al,

       Defendants,

                         and

COALITION FOR HUMANE IMMIGRANT RIGHTS,
et al,

       Proposed Intervenor Defendants.


            Plaintiffs’ Response in Opposition to Proposed Doe Intervenors’
                    Motion for Leave to Proceed Under Pseudonyms




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                                         INTRODUCTION

       The Doe Intervenors are married. They own a home together, they attend community

events together, and they “have both been featured and identified together in public online sources

that identify [them] together by name.” Salvador Doe Decl. ¶ 22. By their own admission, their

sexual orientation is a matter of public record, readily ascertainable by anyone who has their names

and an internet connection.

       Salvador Doe’s immigration status, by his own admission, is also a matter of public record.

A removal order against him is already pending. Attempting to address that order, he has

announced his immigration status to federal immigration authorities at least twice: once by moving

to reopen his removal proceedings and once by applying for the Parole in Place program.

       Pseudonymous litigation is intended for situations where parties have real secrets to hide

and face real consequences if their secrets are disclosed. The Does meet neither requirement, and

the public should be allowed to know the whole story of this enormously important case.

                                          BACKGROUND

       Salvador Doe is a Mexican national who illegally migrated to the United States in 2004 at

the age of 22. Salvador Doe Decl. ¶¶ 1-3, 7, 14. Justin Doe is an American citizen and a 17-year

Rolex Watch USA employee. Justin Doe Decl. ¶¶ 1, 3. The Doe Intervenors and most of Salvador

Doe’s immediate family live in Reading, Pennsylvania, a city with a population of around 95,000.

Justin Doe Decl. ¶ 2; Salvador Doe Decl. ¶ 2.

       In 2008, the Doe Intervenors met at a local gay bar. Justin Doe Decl. ¶ 4. Shortly thereafter,

they entered a romantic relationship. See Salvador Doe Decl. ¶ 12. In 2014, the Doe Intervenors

purchased a home together, and they married in 2017. Justin Doe Decl. ¶¶ 5-6.

       Since 2008, the Doe Intervenors have become very involved in their community, taking

pride in the fact that their community is welcoming and diverse. Salvador Doe Decl. ¶ 11. As part


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of their open community involvement, the Doe Intervenors frequently attend community events,

including LGBTQ+ Pride functions. Salvador Doe Decl. ¶ 9. Due to their substantial community

involvement, the Doe Intervenors have been featured and identified together in public online

sources. Salvador Doe Decl. ¶ 22. Further demonstrating their community integration, the Doe

Intervenors often host friends in their home “as a couple.” Justin Doe Decl. ¶ 8.

       According to Salvador Doe’s declaration, an “old” removal order has been pending against

him for some unspecified time. Salvador Doe Decl. ¶ 15. Sometime before the Doe Intervenors

moved to intervene, Justin Doe filed an I-130 petition, notifying USCIS of Salvador Doe’s

immigration status and the couple’s relationship. Justin Doe Decl. ¶ 14.

       On August 19, 2024, Salvador Doe filed a I-131F application for the challenged Keeping

Families Together Parole program. Salvador Doe Decl. ¶ 14; Justin Doe Decl. ¶ 14. As part of the

I-131F application, Salvador Doe again disclosed his immigration status to USCIS.

       On August 26, 2024, eleven individuals and the Coalition for Humane Immigrant Rights

moved to intervene in the instant case. Only the Doe Intervenors seek to proceed pseudonymously.

                                         LEGAL STANDARD

       The public has a First Amendment interest in open judicial proceedings. Doe v. Stegall, 653

F.2d 180, 185 (5th Cir. 1981). The public’s interest extends to knowing the “identity of the parties,”

Doe v. Frank, 951 F.2d 320, 322 (11th Cir. 1992), as reflected in Federal Rule of Civil Procedure

10(a)’s requirement that a complaint to “include the name of all the parties.”

       To overcome the public’s First Amendment interest in open judicial proceedings and the

presumption that parties litigate in their own names, Stegall, 653 F.2d at 186; In re Sealed Case,

931 F.3d 92, 96 (D.C. Cir. 2019), a party seeking leave to proceed under pseudonym must

demonstrate special circumstances, S. Methodist Univ. Ass’n of Women L. Students v. Wynne &

Jaffe, 599 F.2d 707, 712 (5th Cir. 1979). The parties asking to proceed pseudonymously bear the


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burden of overcoming the strong presumption that their identities should be public. See In re Terra

Int’l, Inc., 134 F.3d 302, 306 (5th Cir. 1998).

       According to the Fifth Circuit, three factors have considerable weight in deciding whether

to allow a party to proceed pseudonymously: (1) whether the parties seeking anonymity are suing

to challenge governmental activity; (2) whether prosecution of the suit compels the parties to

disclose information of the utmost intimacy; and (3) whether the parties are compelled to admit

their intention to engage in illegal conduct, thereby risking criminal prosecution. See Stegall, 653

F.2d at 186. As the Fifth Circuit has refused to pronounce a rigid test, district courts retain broad

discretion when considering a motion for leave to proceed under pseudonym. See id. at 184-85.

                                            ARGUMENT

       This Court should deny the Doe Intervenors’ motion for leave to proceed under

pseudonyms. They have not met their burden to proceed pseudonymously because they do not

satisfy any of the Fifth Circuit’s factors. They have not demonstrated that litigating under their

own names would disclose intimate information, nor have they shown that any disclosure would

lead to a reasonable fear of severe harm.

       If the Court has any doubt as to whether pseudonymity would be appropriate, it should

resolve that doubt in the public’s favor. Because this suit challenges an unusually far-reaching

federal program, the public has an unusually weighty interest in knowing all the facts.

I.     There is no compelling reason to allow the Doe Intervenors to proceed under
       pseudonym.

           A. The Doe Intervenors’ sexual orientation and Salvador Doe’s immigration
              status are not of the utmost intimacy because that information is publicly
              available.

       A party cannot sue pseudonymously to protect publicly known information. See June Med.

Servs., LLC v. Phillips, 22 F.4th 512, 520 (5th Cir. 2022) (citing Seattle Times Co. v. Rhinehart,


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467 U.S. 20, 34 (1984)). In June Medical Services, the Fifth Circuit addressed whether a district

court abused its discretion when it ordered the appellant to file publicly available documents under

seal. Id. at 519. The circuit held that “publicly available information cannot be sealed,” reasoning

that it would be “perverse . . . to say that what was once public must become private—simply

because it was placed in the courts that belong to the public.” Id. at 520.

       Here, the Doe Intervenors argue that revealing their sexual orientation amounts to the

disclosure of utmost intimate information. Does’ Mot. at 8-10. However, evidence of their

relationship is widespread. As a matter of public record, the Doe Intervenors are legally married

and have jointly purchased real property. Salvador Doe Decl. ¶¶ 6-7. They attend community

LGBTQ+ events, Salvador Doe Decl. ¶ 9, “have both been featured and identified together in

public online sources that identify [them] together by name,” Salvador Doe Decl. ¶ 22, and host

friends and family “as a couple,” Justin Doe Decl. ¶ 8. Given that the Doe Intervenors’ marriage

is a matter of public record, and their involvement in LGBTQ+ events is publicly known, it cannot

be said that the Doe Intervenor’s sexual orientation is information of the utmost intimacy.

       The Doe Intervenors also argue that because Salvador Doe is an illegal immigrant, they

should both be permitted to proceed pseudonymously. Does’ Mot. at 10-11. This argument fails

for at least two reasons. First, Salvador Doe’s immigration status is not of the utmost intimate

information—it is public information. The Doe Intervenors filed an I-130 petition and an I-131

petition with USCIS making the agency aware of Salvador Doe’s immigration status. See Salvador

Doe Decl. ¶ 14; Justin Doe Decl. ¶¶ 14-15. More importantly, because Salvador Doe has a removal

order pending against him, his immigration status is available to the public writ large, not just the

government. Yu Mei Chen v. Nielsen, 363 F. Supp. 3d 333, 340 (E.D.N.Y. 2019) (explaining that




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agency determinations and administrative filings are public records and that immigration

proceedings are no exception).

       Second, while some courts have suggested that a person’s immigration status may be

personal in nature, immigration status on its own does not support a party’s request to proceed

pseudonymously. Int’l Refugee Assistance Project v. Trump, 2017 WL 818255, at *2 (D. Md. Mar.

1, 2017) (explaining that immigration status may be consider as one of many factors when

examining a party’s pseudonym request). That’s why so many cases brought by illegal immigrants

do not conceal the immigrants’ names.1 Here, the Doe Intervenors have articulated nothing beyond

immigration status—for example, a reasonable fear of severe harm if their identities were exposed.

See id. (permitting illegal immigrants to proceed pseudonymously based on threat of retaliation

and harm due to their religious affiliation and immigration status); see also infra section 1(B).

       Accordingly, neither the Doe Intervenors’ sexual orientation nor Salvador Doe’s

immigration status is an intimate secret—both are already public.

           B. The Doe Intervenors fear of harm based on disclosure of immigration status
              or sexual orientation is entirely speculative.

       Even if information regarding Salvador Doe’s immigration status or the Doe Intervenors’

sexual orientation were not public, the Doe Intervenors identify no concrete harm that would befall

them if the information were to become public.

       Allegations of speculative harm are insufficient to allow a party to proceed

pseudonymously. In re Sealed Case, 971 F.3d 324, 326 (D.C. Cir. 2020); Does 1-3 v. Mills, 39



1
 E.g., Reyes v. Waples Mobile Home Park Ltd. P’ship, 903 F.3d 415, 419 (4th Cir. 2018) (involving
four illegal immigrants suing defendant for Fair Housing Act violations); Vallecillo v. Wall To Wall
Residence Repairs, Inc., 2008 WL 11333114, at *1 (S.D. Fla. Oct. 31, 2008) (illegal immigrant
suing an employer for Fair Labor Standards Act violations); Reis v. Vannatta Realty, 515 F. Supp.
2d 441, 443 (S.D.N.Y. 2007) (illegal immigrant suing for personal injuries).


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F.4th 20, 26 (1st Cir. 2022). Rather, there must be allegations establishing a reasonable fear of

severe harm. Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011) (citing Stegall, 653 F.2d at 186).

For example, in C.M. v. United States, an asylum-seeking plaintiff from Honduras filed suit against

the United States over a US-Mexico border policy and sought to proceed under pseudonym. 2021

WL 1822305, at *1 (W.D. Tex. Mar. 31, 2021). The plaintiff and his son were hiding in Honduras

from criminal gangs they expected to retaliate against asylum seekers. Id. at *2. Additionally, the

plaintiff and his son held “highly sensitive and personal information” that was relevant to the

underlying case. Id. Noting that the plaintiff suit was against the federal government, that the

plaintiff had a reasonable fear of severe harm, and that the plaintiff held highly sensitive

information, the court granted the plaintiff’s request to proceed pseudonymously.

       Here, Salvador Doe articulates only a speculative fear of harm. Does’ Mot. at 11-14. He

surmises that if his and Justin Doe’s “real names were connected to this lawsuit and someone who

was . . . anti-immigrant were to search for [their] real names, it would be very easy to identify

[them] and figure out where [they] live.” See Salvador Doe Decl. ¶ 22. Apparently, this concern is

based on “things that [Justin] ha[s] heard from Salvador’s friends and family who are still in

Mexico and living in Salvador’s hometown.” Justin Doe Decl. ¶ 11. This possibility of harm is

entirely generalized and speculative—unlike the plaintiff in C.M., Salvador Doe is not actively

hiding from identifiable criminal gangs and does not possess any highly sensitive information

related to an ongoing case. Accordingly, the Doe Intervenors’ alleged fears are certainly not enough

to overcome the presumption that plaintiffs must litigate in their names.2 See Argueta v. U.S.


2
 The Doe Intervenors also briefly argue that because Salvador Doe “has no lawful status at the
moment,” there are “risks with respect to his security and ability to remain in the United States.”
But, as explained, USCIS is already aware of Salvador Doe’s immigration status by virtue of the
pending removal order against him and the I-130 and I-131 petitions he filed with the agency, so
he would not face increased risk of deportation by litigating in his own name.


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Immigr. & Customs Enf’t, 2009 WL 1307236, at *11 (D.N.J. May 7, 2009) (rejecting request to

proceed under pseudonym based on a single anecdote from a different person in a “different

geographical area”).

       As for a risk of harm based on sexual orientation, the Doe Intervenors’ argue that they may

face harm in the United States or Mexico due to risks of violence against LGBTQ+ individuals.

But, as argued above, they have already voluntarily made that information public through their

marriage and community engagement and being featured online—if it is dangerous for their sexual

orientation to become public, then it is a danger they already willingly subjected themselves to.

       In any event, even if the Doe Intervenors’ sexual orientation were previously unknown, it

is entirely speculative that they would incur any harm based on that fact either here or in Mexico.

They have submitted a supporting declaration suggesting that anti-LGBTQ+ violence is on the rise

across the United States. But these sources do not detail where in the United States anti-LGBTQ+

crime is prevalent—in fact, the Doe Intervenors admit that their hometown of Reading,

Pennsylvania is a welcoming and diverse community. Salvador Doe Decl. ¶ 11. So a risk of harm

to the Doe Intervenors is unlikely if they are not removed from the country. And the risk in Mexico

is equally speculative—one of the sources cited in the supporting declaration states that Mexico

has experienced no increase in anti-LGBTQ+ violence and other sources report that anti-LGBTQ+

violence in Mexico is on the decline.3




3
  Compare Austin Decl., Exhibit A (suggesting no increase in hate crime) with Exhibit C
(suggesting an increase in hate crime); see also Statista Research Department, Number of LGBTQ+
hate crime aggressions in Mexico in from 2014 to 2023, STATISTA (Aug. 7, 2024),
https://www.statista.com/statistics/1280644/number-lgbtq-hate-crimes-mexico/ (suggesting that
that anti-LGBTQ+ hate crimes in Mexico have sharply fallen from 2021 to 2023).


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            C. The other factors for pseudonymous litigation do not weigh in the Doe
               Intervenors’ favor.

        The Doe Intervenors argue that the first factor the Fifth Circuit considers in assessing

 pseudonymous status—whether they “are suing to challenge governmental activity,” see Stegall,

 653 F.2d at 186 (emphasis added)—weighs in their favor because they seek to intervene to defend

 government activity. Does’ Mot. at 7-8. They cite no case flipping this consideration to rebut the

 presumption of open judicial proceedings when a party seeks to defend government action.4

        As for the last factor the Fifth Circuit considers, the Doe Intervenors rightly do not even

 try to assert that intervening to back the federal government could subject them to government

 prosecution. See Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010) (explaining that “[a]rguments

 raised for the first time in a reply brief are generally waived”). This is yet another reason not to

 grant their motion to proceed under pseudonym.

II.     The public has an increased interest in the instant case, making pseudonymous
        intervention even more inappropriate.

        The Doe Intervenors have not satisfied even the ordinary burden to justify proceeding

 pseudonymously, and in this case satisfying the ordinary burden would not be enough.

        All “lawsuits are public events and the public has a legitimate interest in knowing the facts

 involved in them.” Doe v. Deschamps, 64 F.R.D. 652, 653 (D. Mont. 1974) (“[A]s a matter of

 policy the identity of the parties to a lawsuit should not be concealed except in the unusual case”);

 see also Frank, 951 F.2d at 322. But the public has a particularly strong interest in cases involving

 issues of national importance, including cases upholding the Constitution or enforcing immigration



 4
   In fact, even in cases where a party challenges government action, that fact is just one factor, and
 the party is not guaranteed the ability to proceed pseudonymously. See e.g., Fields v. City of
 Sherman, Texas, 2018 WL 11339879, at *2 (E.D. Tex. Nov. 28, 2018) (denying a motion to proceed
 under pseudonym even where the plaintiff challenged government action).


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law. See Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005); Blackie’s House of Beef, Inc. v.

Castillo, 659 F.2d 1211, 1221 (D.C. Cir. 1981) (collecting cases).

       Assessing whether to grant pseudonymous status involves balancing the interest of the

public against the potential for harm to the parties, Megless, 654 F.3d at 408, and if the national

media attention this case has already garnered is any indication, 5 the public has an incredibly

strong interest in learning the details of the court proceedings that will decide the constitutionality

of a policy that could impact the immigration status of tens of thousands of people living within

the United States. This Court should therefore deny the motion and require the Doe Intervenors to

disclose their identities—a result that would not only allow full public awareness of this significant

litigation, but will also “create[] a critical audience” and that will “encourage[] truthful exposition

of facts.” Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1178 (6th Cir. 1983).

                                            CONCLUSION

       The Doe Intervenors are not trying to keep their sexual orientation or Salvador Doe’s

immigration status secret—rather, they are trying to keep their involvement in this litigation secret.

That is not a valid reason to litigate pseudonymously, and their motion should be denied.




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  David Noriega, Immigrant families file motion to defend Biden program as Republican states
sue, NBC News (Aug. 26, 2024), https://tinyurl.com/3kyn5mrv; Gisela Salomon & Valerie
Gonzalez, Texas, other GOP-led states sue over program to give legal status to immigrant spouses
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Beltrán, A federal judge has paused the Biden administration’s Keeping Families Together plan,
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                                  CERTIFICATE OF SERVICE

          I certify that on August 30, 2024, a true and accurate copy of the foregoing document

   was filed and served electronically, via CM/ECF.




                                                   /s/ Alan Hurst
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